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AO 245B (Rev. 09il9)   Judgment in a Criminal Case
                       Sheet I




              UNITED STATES OF AMERICA
                                   V.

                       ROBERT W. CAGE Ill                                          Case Number: 4:20-CR-00294-002 LPR

                                                                                    USM Number: 13273-509

                                                                                     SaraF. Merritt (appointed)
                                                                                   Defendant's Attorney
THE DEFENDANT:
li1 pleaded guilty to count(s)          1 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the cou1t.
D was found    guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended
21 U.S.C. § 846                   Conspiracy to Possess with Intent to Distribute and to                     7/20/2020

and 841(b)(1)(C)                  Distribute Oxycodone, Hydrocodone, and

                                  Methamphetamine, a Class C Felony

       The defendant is sentenced as provided in pages 2 through          _ _6_ _           of this judgment. The sentence is imposed pursuant to
the Sentencing Refo1m Act of 1984.
D The defendant has     been found not guilty on count(s)

D Count(s)                                               Dis       Dare dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 clays of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lfordered to pav restitution ,
the clefcnaant must notify the cou1t and United States attorney of material changes in economic circumstances.                          ·

                                                                                                           5/26/2022
                                                                         Date oflmposition of.Judgment



                                                                         ~                 flr::
                                                                                           ~---
                                                                                       y) ~¥
                                                                         Signature of .ludg.:




                                                                                       Lee P. Rudofsky, United States District Judge
                                                                         Nam.: and Till<! of Judge




                                                                         Date
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                        Sheet 4-Probation
                                                                                                        Judgment-Page     2    of        6
 DEFENDANT: ROBERT W. CAGE Ill
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                                                             PROBATION

 You are hereby sentenced to probation for a term of:

     FIVE (5) YEARS




                                                 MANDATORY CONDITIONS
1.   You must not commit another federal. state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 clays of placement on
     probation and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug te.sting condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check !fapplicable)
4.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check !{applicable)
5.    D You must comply ,.vith the requirements of the Sex Offender Registration and Notification Act (34 U.S.C . § 2090 l, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check 1fapplicable)
6.    D You must participate in an approved program for domestic violence. (check ifapplicab/e)
7.    D You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259. 2264. '2327. 3663. 3663A, and 3664. (check /fapplicab/eJ
8.   You must pay the assessment imposed in accordance with 18 U.S.C.§3013.
9.   If this judgment imposes a fine , you must pay in accordance with the Schedule of Payments sheet of this judgment.
I 0. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
     fines, or special assessments .


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                       Sheet 4A - Probation
                                                                                                   Judgment-Page _______   3_ _   of   - -~ 6~ - -
DEFENDANT: ROBERT W. CAGE Ill
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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your probation , you must comply with the following standard conditions of supervision . These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l.     You must report to the probation office in the federal judicial district where you are authorized 10 reside within 72 hours of the time
       you were sentenced, w1less the probation officer instructs you to report to a different probation office or within a different time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       cou1t or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you Iive with), you must notity the probation officer at least IO days bef'ore the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawfol type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I 0
       days in advance is not possible due to unanticipated circumstances. you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm. ammunition , destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confinn that you have notified the person about the risk .
13.    You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instmcted me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For fu1ther information regarding these conditions. see Overview of Probation and Supervised
Release Conditions, available at: W\vw.uscomts.£!ov.

Defendant's Signature                                                                                      Date
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                        Sheet 4D - Probation
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                                            SPECIAL CONDITIONS OF SUPERVISION
 1. Defendant must perform three hundred (300) hours of community service during the five years of his probation. Seventy
 hours (70) hours of community service must be completed within the first year of probation . The probation officer will
 supervise the participation in the program by approving the program (agency, location, frequency of participation, etc.).
 Defendant must provide written verification of completed hours to the probation officer.

 2. Defendant must participate in a substance abuse treatment program under the guidance and supervision of the
 probation office. The program may include drug and alcohol testing, outpatient counseling, and residential treatment.
 Further, defendant must abstain from the use of alcohol during treatment. The defendant must pay for the cost of
 treatment at the rate of $10 per session, with the total cost not to exceed $40 per month , based on ability to pay as
 determined by the probation office. In the event the defendant is financially unable to pay for the cost of the treatment, the
 co-pay requirement will be waived ..
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1\0 ~45B (Rev. 09/19 )   Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment - Page       5    of        6
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                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment               Restitution                 Fine                   AVAA Assessment'°'           .JVTA AssessmentH
TOTALS              $ 100.00                  $                           $                     s"                            $



 D The determination of restitution is deferred until             - --        --
                                                                                   . An Amended .Judgment in a Criminal Cose (AO 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial p.ayment. each paye.e shall receive an approximately proportioned payment, unless specified othenvise in
      the priority or~ler or perc~ntage payment column below. However, pursuant to 18 V.S.C. § 36640). all nonfederal victims must be paid
      before the United States 1s paid.

 Name of Pavee                                                     Total Loss'''**               Restitution Ordered          Priorih' or Percentage




TOTALS                                 s                           0.00              s- -- - - - - -0.00
                                                                                                     --


D      Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fine of more than 52.500, unless the restitution or fine is paid in full before the
       fitleenth day after the elate of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 l 2(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the               D fine       D restitution.
       D the interest requirement for the             D    fine     D restitution is modified as follows:

: Amy, Vicky, ~net And): _~~hil9 P~m10nraph)'. Victim Assistance Act of 2018, Pub. L. No. 115-299.
"'* Justice for V1ct1ms ot I raff1ckmg Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount oflosses are rec\uired under Chapters I09A, 110, 1 IOA, and l l 3A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23. 996.
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                       Judgment in a Criminal Case
                       Sheet 6- Schedule of Payments
                                                                                                                      Judgment- Page _ _   6 __   of   ______6 ___ _
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:

 A    It)   Lump sum payment of S          1QQ.Q0                 due immediately. balance due

            O      not later than                                       . or
            O      in accordance with O C,          O D,          O      E.or        O F below; or

B     0     Payment to begin immediately (may be combined with                   oc,             0 D, or     0 F below); or

C     O     Payment in equal                        (e.g. , ,t•eek()', month(!', quarrerfv)   installments of $              over a period of
                            (e .g., months or year.1) . to commence                       (e.g . 30 or 6() davs) after the date of this judgment; or

 D    O Payment in equal            _ _ _ _ _ (e.g..                             installments of $
                                                          week.Iv, 11101111,/v, q11arterlxJ                           over a period of
                            (e.g.. months or yearsi, to commence       _ __ _ _ (e.g. , J() or 60 daysj after release from imprisonment to a
            term of supervision; or

E     O Payment during the term of supervised release will commence within _ _ _ _ _ (e.g. , 30 or 60 dc~y.1) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     O     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud~ment imposes imprisonment, payment of criminal monetarv penalties is due during
the period of imprisonment.· All criminal monetarv penalties. except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the 'clerk of the court.          ·

The defendant shall receive credit for all payments previously made toward any criminal mon etary penalties imposed.



0     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                            Joint and Several               Corr~~ponding_ Payee,
      (inc/11di11g defi.mdant n11mbe1)                      Total Amount                               Amount                         If· appropnate




D The defendant shall pay the cost of prosecution.
D The defendant shall pay th e following court cost(s):
0     The defendant shall forfeit the defendant's interest in the follo wing property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal , (3) restitution interest, (4) AVAA assessment,
(55 fine l?rincipal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cos t of
prosecut10n and cou,t costs.
